4:15-cr-03109-RGK-CRZ              Doc # 78   Filed: 08/29/16    Page 1 of 9 - Page ID # 285



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                   CASE NUMBER: 4:15CR3109-002
                      Plaintiff,
       vs.                                         USM Number: 42502-044
                                                   NANCY K. PETERSON
CORNESHA KELLY                                     DEFENDANT’S ATTORNEY
                      Defendant.

                             JUDGMENT IN A CRIMINAL CASE
                   (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Indictment on 05/10/2016.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following
offense(s):

      Title, Section & Nature of Offense           Date Offense Concluded        Count Number

18:1029(a)(3) and 2 Possession of counterfeit            March 28, 2015                  I
and unauthorized access devices

The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within fourteen (14) days of
this date pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405
(Revised DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                            Date of Imposition of Sentence:
                                                            August 26, 2016

                                                            Richard G. Kopf
                                                            Senior United States District Judge

                                                            August 29, 2016
 4:15-cr-03109-RGK-CRZ          Doc # 78    Filed: 08/29/16    Page 2 of 9 - Page ID # 286
Defendant: CORNESHA KELLY                                                             Page 2 of 9
Case Number: 4:15CR3109-002


                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ________________,
20___.

                                                          _____________________________
                                                                Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ___ day of _____________,
20____ to ______________________________________, with a certified copy of this
judgment.

                                                          _____________________________
                                                                UNITED STATES WARDEN

                                                          BY: _________________________

NOTE: The following certificate must also be completed if the defendant has not signed
the Acknowledgment of Receipt, above.

                                       CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day
of ______________, 20____.

                                                          _____________________________
                                                                UNITED STATES WARDEN

                                                          BY: __________________________
 4:15-cr-03109-RGK-CRZ          Doc # 78      Filed: 08/29/16       Page 3 of 9 - Page ID # 287
Defendant: CORNESHA KELLY                                                                 Page 3 of 9
Case Number: 4:15CR3109-002


                                          PROBATION

The defendant is hereby sentenced to probation for a term of 3 years to be served
concurrently with the sentence imposed in USDC-Eastern District of Missouri, Case
Number 4:15CR188.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant
shall submit to one drug test within 15 days of release from imprisonment and at least two
period drug tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

       If this judgment imposes a fine or a restitution obligation, it shall be a condition of
probation that the defendant pay any such fine or restitution in accordance with the Schedule of
Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.


                         STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer in a manner and frequency directed by
        the court or probation officer.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family
        responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the
        probation officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase,
        possess, use, distribute, or administer any controlled substance or any paraphernalia
        related to any controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and
        shall not associate with any person convicted of a felony, unless granted permission to
        do so by the probation officer;
 4:15-cr-03109-RGK-CRZ             Doc # 78   Filed: 08/29/16      Page 4 of 9 - Page ID # 288
Defendant: CORNESHA KELLY                                                                  Page 4 of 9
Case Number: 4:15CR3109-002


10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being
        arrested or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special
        agent of a law enforcement agency without the permission of the court;
13.     As directed by the probation officer, the defendant shall notify third parties of risks that
        may be occasioned by the defendant’s criminal record or personal history or
        characteristics and shall permit the probation officer to make such notifications and to
        confirm the defendant’s compliance with such notification requirement.

                              SPECIAL CONDITIONS OF SUPERVISION

1.      The defendant shall cooperate in the collection of DNA as directed by the probation
        officer, pursuant to 28 C.F.R. § 28.12, the DNA Fingerprint Act of 2005, and the Adam
        Walsh Child Protection and Safety Act of 2006, if such sample was not collected during
        imprisonment.

2.      The defendant shall submit his or her person, residence, office, or vehicle to a search
        conducted by a United States Probation Officer at any time; failure to submit to a search
        may be grounds for revocation; the defendant shall warn any other residents that the
        premises may be subject to searches pursuant to this condition.

3.      The defendant shall attend, pay for and successfully complete any diagnostic
        evaluations, treatment or counseling programs, or approved support groups (e.g.,
        AA/NA) for alcohol and/or controlled substance abuse, as directed by the probation
        officer.

4.      If the defendant is unable to secure lawful employment, the defendant may be required
        to perform up to 20 hours of community service per week until employed. The defendant
        may also participate in training, counseling, daily job search, or other employment-
        related activities, as directed by the probation officer.

5.      The defendant shall pay restitution in the amount of 13,928.28 to the Clerk of the U.S.
        District Court, 111 S. 18th Plaza, Suite 1152, Omaha, Nebraska 68102-1322.
        Restitution shall be paid in accordance with the schedule set forth in the "Schedule of
        Payments" set forth in this judgment. The defendant shall be responsible for providing
        proof of payment to the probation officer as directed.

         Victim's Name                   Amount

         PBS International A/S (Denmark)                              $1,517.85
         Citibank Privatkunden AG and CO KGAA (Germany)               $118.45
         Cartasi SPA Italy                                            $421.99
         US Bank National Association ND (St Mary’s CU)               $53.94
         FIA Card Services, NA                                        $341.56
         Fifth Third Bank                                             $739.39
         USAA Federal Savings Bank                                    $3,048.91
         PSCU Financial Services, Inc.                                $276.03
         Tower FCU                                                    $184.94
 4:15-cr-03109-RGK-CRZ          Doc # 78      Filed: 08/29/16     Page 5 of 9 - Page ID # 289
Defendant: CORNESHA KELLY                                                                Page 5 of 9
Case Number: 4:15CR3109-002


         Cuscal LTD (Australia)                                      $504.95
         Suntrust Bank, Inc.                                         $847.77
         Green Dot                                                   $505.95
         Credito Emiliano SPA (Italy)                                $505.95
         Banco De La Edificador De Olavarria SA (Argentina)          $505.95
         CU Cooperative Systems (Northwest CU)                       $53.94
         First Data Cono Sur SRL (Argentina)                         $107.88
         Boeing Employees CU                                         $107.88
         Chase Bank USA                                              $329.68
         Trustmark National Bank                                     $54.95
         Banco Atlantida SA (Honduras)                               $792.45
         IBCA Bancard, Inc.                                          $270.49
         Barclays Bank Delaware                                      $219.80
         Citibank                                                    $437.05
         Capital One Bank                                            $321.40
         Credit Saison Co., LTD (Japan)                              $731.78
         GE Capital Retail Bank                                      $466.39
         Associated Bank, NA                                         $131.26
         Shazam, Inc. (Union State Bank)                             $329.70


        Without limiting the foregoing, and following release from prison, the defendant shall
        make payments to satisfy the criminal monetary penalty in the following manner: (a)
        monthly installments of $100 or 3% of the defendant's gross income, whichever is
        greater; (b) the first payment shall commence 30 days following the defendant's
        discharge from incarceration, and continue until the criminal monetary penalty is paid in
        full; and (c) the defendant shall be responsible for providing proof of payment to the
        probation officer as directed.

6.      The defendant is prohibited from incurring new credit charges or opening additional lines
        of credit without prior written approval of the probation officer.

7.      The defendant shall provide the probation officer with access to any requested financial
        information.

8.      Pursuant to 18 U.S.C. § 3563(a)(5), the defendant shall submit to a drug test within
        fifteen (15) days of release on probation and at least two (2) periodic drug tests
        thereafter to determine whether the defendant is using a controlled substance. Further,
        the defendant shall submit to such testing as requested by any probation officer to detect
        the presence of alcohol or controlled substances in the defendant's body fluids and to
        determine whether the defendant has used any of those substances. Based on the
        defendant's ability to pay, the defendant shall pay for the collection of urine samples to
        be tested for the presence of alcohol or controlled substances in an amount determined
        by the probation officer.

9.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the
        Northern District of Illinois between the hours of 8:00 a.m. and 4:30 p.m., 230 South
        Dearborn Street, Suite 3400, Chicago, Illinois, (312) 435-7896, within seventy-two (72)
        hours of release being placed on probation or release from confinement, and, thereafter,
        as directed by the probation officer.
 4:15-cr-03109-RGK-CRZ          Doc # 78     Filed: 08/29/16     Page 6 of 9 - Page ID # 290
Defendant: CORNESHA KELLY                                                                  Page 6 of 9
Case Number: 4:15CR3109-002


                              CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

      Total Assessment                     Total Fine                    Total Restitution

              $100                                                            $13,928.28

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that interest requirement is waived.


                                              FINE
No fine imposed.
                                        RESTITUTION

Restitution in the amount of $13,928.28 is hereby ordered jointly and severally with co-
defendant Aisha Morgan, Case Number 4:15CR3109. The defendant shall make restitution to
the following payees in the amounts listed below.

                                                                                      Priority
                                                                Amount of
                                         Total Amount                                Order or
            Name of Payee                                       Restitution
                                            of Loss                                 Percentage
                                                                 Ordered
                                                                                    of Payment
PBS International A/S (Denmark)         $1,517.85          $1,517.85
Nets Denmark A/S (headquarter)
P.O. 500
DK-2750 Ballerup
Citibank Privatkunden AG and CO         $118.45            $118.45
KGAA (Germany)
Kasernenstraße 10
40213 Düsseldorf
Cartasi SPA Italy                       $421.99            $421.99
Corso Sempione, 55
Milan, MI 20145
Italy
US Bank National Association ND (St     $53.94             $53.94
Mary’s CU)
46 Lizotte Drive
Marlborough, MA 01752
FIA Card Services, NA                   $341.56            $341.56
1100 N King St
Wilmington, Delaware 19884-0011
Fifth Third Bank                        $739.39            $739.39
38 Fountain Square Plaza
Cincinnati, Ohio 45263
USAA Federal Savings Bank               $3,048.91          $3,048.91
10750 McDermott Freeway
PSCU Financial Services, Inc.           $276.03            $276.03
 4:15-cr-03109-RGK-CRZ        Doc # 78    Filed: 08/29/16   Page 7 of 9 - Page ID # 291
Defendant: CORNESHA KELLY                                                       Page 7 of 9
Case Number: 4:15CR3109-002


560 Carillon Pkwy, St.
Petersburg, FL 33716
Tower FCU                             $184.94         $184.94
7901 Sandy Spring Rd,
Laurel, MD 20707
Cuscal LTD (Australia)                $504.95         $504.95
1 Margaret Street
Sydney NSW 2000
GPO Box 4720
Sydney NSW 2001
Suntrust Bank, Inc.                   $847.77         $847.77
303 Peachtreet St, N.E.
Atlanta, Georgia 30308
Green Dot                             $505.95         $505.95
3465 E. Foothill Blvd.
Pasadena, CA 91107
Credito Emiliano SPA (Italy)          $505.95         $505.95
4 via Emilia San Pietro,
Reggio Emilia, Italy
Banco De La Edificador De Olavarria   $505.95         $505.95
SA (Argentina)
Bartolomé Mitre #326,
Buenos Aires, Capital Federal,
Argentina
CU Cooperative Systems (Northwest     $53.94          $53.94
CU)
9692 Haven Avenue
Rancho Cucamonga, CA 91730
First Data Cono Sur SRL (Argentina)   $107.88         $107.88
Peru 143
6º Piso
Buenos Aires, C1067AAC
Argentina
Boeing Employees CU                   $107.88         $107.88
12770 Gateway Drive
Tukwila, WA 98168
Chase Bank USA                        $329.68         $329.68
270 Park Avenue
New York, NY 10017
Trustmark National Bank               $54.95          $54.95
248 East Capitol Street
Jackson, Mississippi 39201
Banco Atlantida SA (Honduras)         $792.45         $792.45
Plaza Bancatlan Blvd. Miraflores,
Tegucigalpa, Honduras
IBCA Bancard, Inc.                    $270.49         $270.49
1615 L Street NW
Suite 900
Washington, DC 20036-5610
Barclays Bank Delaware                $219.80         $219.80
 4:15-cr-03109-RGK-CRZ          Doc # 78     Filed: 08/29/16     Page 8 of 9 - Page ID # 292
Defendant: CORNESHA KELLY                                                                Page 8 of 9
Case Number: 4:15CR3109-002


100 S West St.
Wilmington, DE 19801
Citibank                                $437.05            $437.05
14700 Citicorp Dr.
Hagerstown, MD 21742
Capital One Bank                        $321.40            $321.40
388 Greenwich Street
New York, NY 10013
Credit Saison Co., LTD (Japan)          $731.78            $731.78
3-1-1, Higashiikebukuro
Toshima-Ku, 170-0013
Japan
GE Capital Retail Bank                  $466.39            $466.39
6510 Millrock Drive
Salt Lake City, Utah 84121
Associated Bank, NA                     $131.26            $131.26
433 Main Street
Green Bay, Wisconsin 54301
Shazam, Inc. (Union State Bank)         $329.70            $329.70
Union State Bank
1st Ave. & 20th St. N.
Pell City, Alabama 35125
Totals                                  $13,928.28         $13,928.28

**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and
113A of Title 18,United States Code, for offenses committed on or after September 13, 1994 but
before April 23, 1996.

The Court gives notice that this case involves other defendants who may be held jointly and
severally liable for payment of all or part of the restitution ordered herein and may order such
payment in the future.
                                SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $100.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of
the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant
shall participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly
installments of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first
payment shall commence 30 days following the defendant’s discharge from incarceration, and
 4:15-cr-03109-RGK-CRZ           Doc # 78      Filed: 08/29/16   Page 9 of 9 - Page ID # 293
Defendant: CORNESHA KELLY                                                              Page 9 of 9
Case Number: 4:15CR3109-002


continue until the criminal monetary penalty is paid in full; and (c) the defendant shall be
responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the
following order of priority: special assessment; restitution; fine; and other penalties. Unless
otherwise specifically ordered, all criminal monetary penalty payments, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be
made to the clerk of the Court. Unless otherwise specifically ordered, interest shall not accrue
on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of the U. S. District Court, 111 S.
18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly
payment amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.

Restitution is hereby ordered jointly and severally with co-defendant Aisha Morgan, Case
Number 4:15CR3109.

CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
